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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------- X
                                                                   ORDER ON DOCUMENTS 8
 AMERICAN CIVIL LIBERTIES UNION and                                AND 66, AMENDING
 THE AMERICAN CIVIL LIBERTIES UNION                                JUDGMENT AND
 FOUNDATION,                                                       RECONSIDERING OPINION
                                                                   AND ORDER DATED
                                    Plaintiffs,                    SEPTEMBER 27, 2017

                  V.                                               15 Civ. 9317 (AKH)

 DEPARTMENT OF DEFENSE, DEPARTMENT
 OF JUSTICE, including its components the                                llSDC SD1'tY                  !/I.
 OFFICE OF LEGAL COUNSEL and OFFICE OF                                                                 'I

 INFORMATION POLICY, DEPARTMENT OF                                       'DQCUM£NT
 STATE, and CENTRAL INTELLIGENCE                                         ELECTRONICALLY FILED
 AGENCY,                                                                 DOC#:
                                                                              ----t7-r.--+-:--r-,--
                                                                         DATE FILED:
                                    Defendants.                                         --,---,.~---
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ALVIN K. HELLERSTEIN, U.S.D.J.:

        By order dated September 27, 2017, I granted in part and denied in part the

Government's motion for summary judgment, ordering the government to timely produce

various documents, including versions of Document 66 and Document 8. See Dkt. No. 77. That

order concluded my review of the documents submitted for my review. Judgment was entered

and the case was marked closed. See Dkt. No. 78.

        The Government subsequently moved, pursuant to Fed. R. Civ. P. 59(e), to alter or

amend the judgment and to reconsider the Court's September 27 opinion and order. See Dkt.

No. 79. Specifically, the Government sought reconsideration of the Court's ruling on Document

66, and for clarification of the Court's rµling on Document 8. By order dated November 13,

2017, see Dkt. No. 82, I allowed the Government to make a supplemental submission to identify

the portions of Document 66 that it believes are protected from disclosure under Exemptions 1
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and 3, see 5 U.S.C. § 552(b)(l), (3). The Government made its requested supplemental

submission on December 1, 2017, lodging for the Court's review a classified version of

Document 66 containing various proposed redactions. See Dkt. No. 85. This version of

Document 66 was attached as "Exhibit C" to the Amended Supplemental Classified Declaration

of Antoinette B. Shiner 1 and remains classified.

         On January 18, 2018, I held an in camera hearing in my chambers where I reviewed and

heard arguments on the version of Document 66 containing the Government's proposed

redactions. I reviewed Document 66 page by page and noted my approval, disapproval, or

modification of the redactions. Pursuant to my orders of March 27 and April 17, see Dkt. Nos.

90, 92, I ordered a redacted transcript of that hearing to be filed for public viewing.

         The rulings contained in that transcript serve as my final rulings with respect to

Document 66 2 and Document 8, amending my September 27 order. The Government shall

produce, consistent with these rulings, Document 66, Document 8, the redacted January 18

transcript, and the other documents ordered to be produced in my prior rulings. The Clerk shall

amend the final judgment, and all issues in this case are now ripe for appeal. The Government's

disclosure obligations are stayed for 60 days, or 10 days following the filing of a notice of

appeal, whichever is later. In the interim, the Government shall file the redacted transcript

provided to the Court on April 11, 2018. The Clerk shall terminate Dkt. No. 93.

                  SO ORDERED.

Dated:            Mayl, 2018
                  New York, New York
                                                               United States District Judge


1
  The Declaration, but not the exhibits, has been filed for public viewing. See Dkt. No. 86.
2
  Subsequent to the in camera hearing, the Government filed a classified letter seeking reconsideration of one of the
Court's rulings relating to page 68 of Document 66. See Dkt. No. 89. The Government may redact the name of the
study found on line 3 of page 68 of Document 66.
